                                                      Case 18-36881 Document 202 Filed in TXSB on 08/22/19 Page 1 of 16



MOR-1                                                      UNITED STATES BANKRUPTCY COURT
                                                       1
CASE NAME:        BELTWAY 7 PROPERTIES, LTD .                                                                                    PETITION DATE:                12/5/2018 0:00
CASE NUMBER:      18-36883                                                                                                       district of texas:          Southern
PROPOSED PLAN DATE:                        4/5/2019                                                                              DIVISION:                   Houston


                          MONTHL Y OPERA TING REPORT SUMMARY                                                 FOR MONTH                                       July                                                YEAR 2019
                                           MONTH              Dec. 2018                Jan. 2019                   Feb. 2019                  Mar. 2019                   Apr. 2019               May. 2019|         Jun. 2019
REVENUES (MOR-6/                                                     0.00                       0.00                      0.00                        0.00                          0.00                 o.ool            0.00
INCOME BEFORE INT: DEPREC./TAX (MOR-6)                               0.00                  -325.00                        0.00                        0.00                          0.00                 o.ool            0.00
NET INCOME (LOSS) (MOR-6)                                            0.00                  -325.00                        0.00                        0.00                          0.00                 0.00             0.00
PA YMENTS TO INSIDERS (MOR-1)                                        0.00                       0.00                      0.00                        0.00                          0.00                 0.00             0.00
PA YMENTS TO PROFESSIONALS (MORN)                                    0.00                       0.00                      0.00                        0.00                          0.00                 0.00             0.00
TOTAL DISBURSEMENTS (MOR-7)                                          0.00                   325.00                        0.00                        0.00                          0.00                 o.ool            0.00

***Thc original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***

                                                                                                                                                             CIRCLE ONE

REQUIRED INSURANCE MAINTAINED                                                Are all accounts receivable being collected within terms?                       Yes     No     (N/A)
   AS OF SIGNA TURE DA TE                             EXP.                   Are all post-petition liabilities, including taxes, being paid within terms?    Yes     No     (N/A)
                                                      DATE                   Have any pre-petition liabilities been paid?                                    Yes     (No)
CASUALTY                   YES(x) NO ( )                      10/31/2019      If so, describe
LIABILITY                 YES (x) NO ( )                      1 0/31/201 9   Are all funds received being deposited into DIP bank accounts?                  Yes     No     (N/A)
VEHICLE                   YES ( ) NO (X)                                     Were any assets disposed of outside the normal course of business?              Yes     (No)
WORKER'S                  YES ( ) NO (X)                       -              If so, describe
OTHER                     YES (x) NO ( )                      1 0/31/201 9   Are all U.S. Trustee Quarterly Fee Payments current?                            (Yes)    No
                                                                             What is the status of your Plan of Reorganization? A Plan of reorganization has not been filed.




attorney name: Melissa A. Haselden                                                                            I certify under penalty ofperjury that the following complete
FIRM NAME:        Hoover Slovacek LLP                                                                        Monthly Operating Report (MORfjjmsisting vfMQJUJ through
ADDRESS:          Galleria Tower II                                                                          MOR-9 plus attachments, i^true and correct.
                  5051 Westheimer, 12th Floor
cm: state, zip.   Houston, TX 77046
TELEPHONE/FAX: (713) 977-8686
                                                                                                            SIGNED X
                                                                                                                            7   4   (ORIGINAL SIGNATURE)
                                                                                                                                                                TITLE:




MOR-1
                                                                                                                                                                                sko!n
                                                                                                                      (PRINT NAME OF SIGNATORY)                                DATE        Revised 07/01/98
                                                         Case 18-36881 Document 202 Filed in TXSB on 08/22/19 Page 2 of 16



MOR-1                                                        UNITED STATES BANKRUPTCY COURT
                                                         1
CASE NAME:          BELTWAY 7 PROPERTIES, LTD.                                                                                   PETITION DATE:               12/5/2018 0:00
CASE NUMBER:        18-36883                                                                                                      district of Texas:        Southern
PROPOSED PLAN DATE:                          4/5/2019                                                                             DIVISION :                Houston


                            MONTHL Y OPERA TING REPORT SUMMARY                                               FOR MONTH                                      July                                        YEAR 2019
                                             MONTH                  Jul-19
REVENUES (MOR-6)
INCOME BEFORE INT: DEPREC./TAX (MOR-6)
NET INCOME (LOSS) (MOR-6)
PA YMENTS TO INSIDERS (MORN)
PA YMENTS TO PROFESSIONALS (MORN)
TOTAL DISBURSEMENTS (MOR-7)


***The original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***
                                                                                                                                                            CIRCLE ONE

required insurance maintained                                                Are all accounts receivable being collected within terms?                      Yes     No     (N/A)
   as of signature date                                 EXP.                 Are all post-petition liabilities, including taxes, being paid within terms?   Yes     No     (N/A)
                                                        DATE                 Have any pre-petition liabilities been paid?                                   Ves     (No)
CASUALTY                    YES (x) NO ( )                      10/31/2019    If so, describe
LIABILITY                   YES (x) NO ( )                      10/31/2019   Are all funds received being deposited into DIP bank accounts?                 Yes     No     (N/A)
VEHICLE                     YES ( ) NO (X)                                   Were any assets disposed of outside the normal course of business?             Yes     (No)
WORKER'S                    YES ( ) NO (X)                                    If so, describe
OTHER                       YES (x) NO ( )                      10/31/2019   Are all U.S. Trustee Quarterly Fee Payments current?                           /yes;    No
                                                                             What is the status of your Plan of Reorganization?      A Plan of reorganization has not been Tiled.




attorney name- Melissa A. Haselden                                                                            / certify under penalty ofperjury that the following complete
FIRM NAME:          Hoover Slovacek LLP                                                                      Monthly Operating Report (MOR). consisting of MOR-I through
ADDRESS:            Galleria Tower II                                                                        MOR-'J plus attachments, is true and correct.
                    5051 Westheimer, 12th Floor
city, state, ZIP:   Houston, TX 77046                                                                       SIGNED X                                           TITLE:
TELEPHONE/FAX: (713) 977-8686                                                                                                       (ORIGINAL SIGNATURE)


MOR-1                                                                                                                 (PRINT NAME OF SIGNATORY)                               DATE   Revised 07/01/98
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  CASE NAME:       BELTWAY 7 PROPERTIES, LTD.1
  CASE NUMBER: 18-36883




                                             COMPARATIVE BALANCE SHEETS
ASSETS                                     FILING DATE*         MONTH                MONTH               MONTH           MONTH           MONTH            MONTH                     MONTH
                                             12/5/2018                  12/31/2018           1/31/2019       2/28/2019       3/31/2019       4/30/2019             5/31/2019
CURRENT ASSETS
                                                                                                                                                                                           6/30/2019

Cash                                                     0.00               0.00                  0.00            0.00            0.00            0.00                      0.00                   0.00
Accounts Receivable. Net                                 0.00               0.00                  0.00            0.00            0.00            0.00                      0.00                   0.00
Inventory: Lower of Cost or Market                       0.00               0.00                  0.00            0.00            0.00            0.00
Prepaid Expenses
                                                                                                                                                                            0.00                   0.00
                                                         0.00               0.00                  0.00            0.00            0.00            0.00                      0.00
Investments                                                                                                                                                                                        0.00
                                                         0.00               0.00                  0.00            0.00            0.00            0.00                      0.00
Other                                                                                                                                                                                              0.00
                                                         0.00               0.00                  0.00            0.00            0.00            0.00                      0.00
TOTAL CURRENT ASSETS                                                                                                                                                                               0.00
                                                         0.00               0.00                  0.00            0.00            0.00            0.00                      0.00
PROPERTY. PLANT & EQUIP @ COST                                                                                                                                                                     0.00
                                                         0.00               0.00                  0.00            0.00            0.00            0.00                      0.00
Less Accumulated Depreciation                                                                                                                                                                      0.00
                                                         0.00               0.00                  0.00            0.00            0.00            0.00                      0.00
NET BOOK VALUE OF PP & F.                                                                                                                                                                          0.00
                                                         0.00               0.00                  0.00            0.00            0.00            0.00                      0.00                   0.00
OTHER ASSETS

 1. Tax Deposits                                         0.00                0.00                 0.00            0.00            0.00            0.00                      0.00                   0.00
 2. Investments in Subsidiaries                          0.00               0.00                  0.00            0.00            0.00            0.00                      0.00                   0.00
 3. Electric Deposit                                     0.00               0.00                  0.00            0.00            0.00            0.00                      0.00                   0.00
 4. Insurance                                            0.00               0.00                  0.00            0.00            0.00            0.00                      0.00
 5. Reserve Escrow Balance                                                                                                                                                                         0.00
                                                         0.00               0.00                  0.00            0.00            0.00            0.00
TOTAL ASSETS
                                                                                                                                                                            0.00                   0.00
                                                    S0-00                 S0.00                 $0.00            $0.00           $0.00           $0.00                  $0.00
                                        * Per Schedules and Statement of Affairs                                                                                                               $0.00
              MOR-2
                                                                                                                                                         Revised 07.VI/9H          Rented 07 Vim
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      CASE NAME:   BELTWAY 7 PROPERTIES, LTD.1
  CASE NUMBER: 18-36883




                                             COMPARATIVE BALANCE SHEETS
ASSETS                                     FILING DATE*           MONTH              MONTH           MONTH           MONTH           July            MONTH                     MONTH
                                             12/5/20 1 8                  7/1/2019

CURRENT ASSETS

Cash                                                       0.00
Accounts Receivable. Net                                   0.00
Inventory: Lower of Cost or Market                         0.00
Prepaid Expenses                                           0.00
Investments                                                0.00
Other                                                      0.00              0.00             0.00            0.00            0.00           0.00                      0.00                      0.00
TOTAL CURRENT ASSETS                                       0.00              0.00             0.00            0.00            0.00           0.00                      0.00                      0.00
PROPERTY. PLANT & EQUIP. @ COST                            0.00              0.00             0.00            0.00            0.00           0.00                      0.00                      0.00
Less Accumulated Depreciation                              0.00              0.00             0.00            0.00            0.00           0.00                      0.00                      0.00
NET BOOK VALUE OF PP & E                                   0.00              0.00             0.00            0.00            0.00           0.00                      0.00                      0.00
OTHER ASSETS

 I. Tax Deposits                                           0.00              0.00             0.00            0.00            0.00           0.00                      0.00                      0.00
 2. Investments in Subsidiaries                            0.00             0.00              0.00            0.00            0.00           0.00                      0.00                      0.00
 3. Electric Deposit                                       0.00              0.00             0.00            0.00            0.00           0.00                      0.00                      0.00
 4.    Insurance                                           0.00              0.00             0.00            0.00            0.00           0.00                      0.00                      0.00
 5. Reserve Escrow Balance                                 0.00              0.00             0.00            0.00            0.00           0.00                      0.00                      0.00
TOTAL ASSETS                                         $0.00                $0.00              $0.00           $0.00           $0.00          $0.00                  $0.00                     $0.00
                                        * Per Schedules and Statement of Affairs
              MOR-2
                                                                                                                                                    Revised 07/01/98          Revised 07/01/98
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         CASE NAME:     BELTWAY 7 PROPERTIES. LTD.1
         CASE NUMBER: 18-36883




                                              COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER S                       FILING DATE*         MONTH                 MONTH                MONTH               MONTH                MONTH                MONTH                     MONTH
EQUITY                                        12/5/2018                  12/31/2018            1/31/2019            2/28/2019           3/31/2019            4/30/2019             5/31/2019                 6/30/2019
LIABILITIES

POST-PETITION LIAllll.rriHS(MOR-4)
                                                          0.00           66,486.02 1           61,334.481           61.334.48           61,334.48            61,334.48             61.334.48                 61.334.48
PRE-PETTTiON LIABILITIES

 Notes Payable - Secured

 I.) Annaly CRE Holdings LLC                  7,000,000,00          7,000,000.00          7,000,000.00         7,000,000,00        7,000,000,00         7,000.000 00           7,000,000,00
 Priority Debt                                                                                                                                                                                           7,000,000.00
                                                          0.00                 0.00                 0.00                 0.00                0.00                 0.00
 Federal Income Tax                                                                                                                                                                         0.00                       0.00
                                                          0.00                0.00                  0.00                 0.00                0.00                 0.00                      0.00
 FICA/Withholding                                                                                                                                                                                                      0.00
                                                          0.00                 0.00                 0.00                 0.00                0.00                 0.00                      0.00
 Unsecured Debt-Trade Creditors
                                                          0.00                                                                                                                                                         0.00
                                                                              0.00                  0.00                 0.00                0.00
 Unsecured Debt- Insiders or Affiliates
                                                                                                                                                                  0.00                      0.00                       0.00
                                                          0.00                 0.00                 0.00                 0.00                0.00                 0.00
 Other                                                                                                                                                                                      0.00                       0.00
TOTAL PRE-PETITION LIABILITIES                7,000,000.00          7,000,000.00          7,000,000.00         7,000,000,00        7,000,000.00         7,000,000,00           7,000,000.00              7,000,000,00
TOTAL LIABILITIES                             7,000,000.00          7,066,486.02          7,127,820.50         7,189,154.98        7,061,334,48         7,061,334.48           7,061,334.48              7,061,334.48
OWNER'S EQUITY (DEFICIT)
 PREFERRED STOCK
                                                          0.00                 0.00                 0.00                 0.00                0.00                 0.00                      0.00
 COMMON STOCK
                                                          0.00                                                                                                                                                         0.00
                                                                               0.00                 0.00                 0.00                0.00                 0.00                      0.00
 ADDITIONAL PAID-IN CAPITAL
                                                          0.00                                                                                                                                                         0.00
                                                                               0.00                 0.00                 0.00                0.00                 0.00                      0.00
 RETAINED EARNINGS: Filing Dale                                                                                                                                                                                        0.00
                                                          0.00                 0.00                 0.00                 0.00                0.00                 0.00
 RETAINED EARNINGS: Pou Filing Dale                                                                                                                                                         0.00                       0.00
                                                          0.00                 0.00                 0.00                 0.00                0.00                 0.00                      0.00
TOTAL OWNER'S EQUITY (NET WORTH)
                                                          0.00                                                                                                                                                         0.00
                                                                               0.00                 0.00                 0.00
TOTST                                                                                                                                        0.00                 0.00                      0.00                       0.00
LIABILITIES &
[[owners equity                            (£7,000,000.00)1 ($7,066,486.02)|            ($7,127,820.50)1 ($7,189,154.98)1        ($7,061 .334.48)1    ($7,061,334,48)1     (£7,061 ,334.48)1 ($7,061,334.48)
                                          * Per Schedules and Statement of Affairs
            MOR-3
                                                                                                                                                                         Revised 07/01/98          Revised (>7/01/98
                                                Case 18-36881 Document 202 Filed in TXSB on 08/22/19 Page 6 of 16



          CASE NAME:       BELTWAY 7 PROPERTIES, LTD.1
          CASE NUMBER: 18-36883




                                                  COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                           FILING DATE*         MONTH               MONTH            MONTH            MONTH            July              MONTH                     MONTH
EQUITY                                            12/5/2018                   7/1/2019
LIABILITIES
                                                                                                                  ~
                                                                                                                                                                                                    I
POST-PETITION LIABILITIES(MOR-4)                              0.00                0.00
PRE-PETITION LIABILITIES
                                                                                                                                              ..

 Notes Payable - Secured

 1 .) Annaly CRE Holdings LLC                    7,000,000.00           7,000,000.00
 Priority Debt                                                0.00
 Federal Income Tax                                           0.00                0.00             0.00             0.00             0.00            0.00                      0.00                      0.00
 FICA/Withholding                                             0.00                0.00             0.00             0.00             0.00            0.00                      0.00                      0.00
 Unsecured Debt-Trade Creditors                               0.00                0.00             0.00             0.00             0.00           0.00                       0.00                      0.00
 Unsecured Debt- Insiders or Affiliates                       0.00                0.00             0.00             0.00             0.00           0.00                       0.00                      0.00
 Other

TOTAL PRE-PETITION LIABILITIES                   7,000,000,00          7,000,000.00               0.00              0.00            0.00            0.00                       0.00                      0.00
TOTAL LIABILITIES                                7,000,000.00          7,000,000.00               0.00             0.00              0.00           0.00                       0.00                      0.00
OWNER'S EQUITY (DEFICIT)

PREFERRED STOCK                                               0.00                0.00            0.00             0.00             0.00            0.00                       0.00                      0.00
COMMON STOCK                                                  0.00                0.00            0.00             0.00             0.00            0.00                       0.00                      0.00
ADDITIONAL PAID-IN CAPITAL                                    0.00                0.00            0.00             0.00             0.00            0.00                       0.00                      0.00
RETAINED EARNINGS: Filing Date                                0.00                0.00            0.00             0.00             0.00            0.00                       0.00                      0.00
RETAINED EARNINGS: Post Filing Date
                                                           0.00                  0.00             0.00             0.00             0.00            0.00                       0.00                      0.00
TOTAL OWNER'S EQUITY (NET WORTH)                              0.00                0.00            0.00             0.00             0.00            0.00
IOI Al.                                                                                                                                                                        0.00                      0.00
LIABILITIES &
OWNERS EQUITY
                                              ($7,000,000.00)        ($7,000,000.00)             $0.00            $0.00
                                                                                    —
                                                                                                                                   $0.00           $0.00                   $0.00                     $0.00
                                             * Per Schedules and Statement of Affairs
             MOR-3
                                                                                                                                                            Revised 07/01/98          Revised 07/01/98
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    CASE NAME:           BELTWAY 7 PROPERTIES, LTD.1
    CASE NUMBER:         18-36883


                                             SCHEDULE OF POST-PETITION LIABILITIES
                                                              MONTH                MONTH                MONTH                   MONTH               MONTH               MONTH                     MONTH
                                                                      12/31/2018           1/3 1/2019           2/28/2019               3/31/2019           4/30/2019               5/31/2010                    6.W20I'
TRADE ACCOUNTS PA TABLE

TAX PAYABLE

    Federal Payroll Taxes                                                 0.00                 0.00                      0.00               0.00                0.00                   0.00                          0.00
    Slate Payroll Taxes                                                   0.00                 0.00                      0.00               0.00                0.00                   0.00                          0.00
    Ad Valorem Taxes                                                      0.00                 0.00                      0.00               0.00                0.00                   0.00                          0.00
    Other Taxes                                                           0.00                 0.00                      0.00               0.00                0.00                   0.00                          0.00
TOTAL TAXES PAYABLE                                                       0.00                 0.00                      0.00               0.00                0.00                   0.00                          0.00
SECURED DEBT POST-PETITION                                                0.00                 0.00                      0.00               0.00                0.00                   0.00                          0.00
ACCRUED INTEREST PAYABLE                                          60.000.00            60,000.00            60,000.00               60,000.00           60,000.00
                                             i
                                                                                                                                                                            60.000.00                       60.000.00
ACCRUED PROFESSIONAL FEES*
                                                                      6,486.02             1,334.48                      0.00            219.50                 0.00                   0.00                          0.00
OTHER ACCRUED LIABILITIES
    I .   MOR-4 Other Accrued Liabilities (attachment!                    0.00                 0.00                      0.00               0.00                0.00                   0.00                          0.00
    2. MOR-4 Other Accrued Liabilities (Payroll attachment)               0.00                 0.00                      0.00               0.00                0.00                   0.00                          0.00
    3.

TOTAL POST-PETITION LIABILITIES (MOR-3)                          $66,486.02           $61,334.48           $60,000.00              $60.219,50          $60.000,00
    'Payment requires Court Approval                                                                             i   i
                                                                                                                                                                           $60,000.00                    $60.000,00
                                                                                                                                                                                =


             MOR-4
                                                                                                                                                                        SrWWOWM                 Ri med (17/1)1 9.V

1
    Total fees and expenses incurred by Hoover Slovacek. Amounts will be deducted
                                                                                  from the firm's remaining retainer, if any.
                                                                Case 18-36881 Document 202 Filed in TXSB on 08/22/19 Page 8 of 16



    CASE NAME:           BELTWAY 7 PROPERTIES, LTD.1
    CASE NUMBER:         18-36883



                                             SCHEDULE OF POST-PETITION LIABILITIES
                                                                  MONTH               MONTH               MONTH               MONTH                MONTH            MONTH                     MONTH
                                                                          7/31/2019           8/31/2019           9/30/2019           10/31/2019
TRA DE A CCOUHTS PA YA BL E                                                  0.00
TAX PAYABLE

    Federal Payroll Taxes

    State Payroll Taxes

    Ad Valorem Taxes

    Other Taxes

TOTAL TAXES PAYABLE

SECURED DEBT POST-PETITION                                                   0.00                 0.00                0.00                 0.00             0.00                      0.00                      0.00
ACCRUED INTEREST PAYABLE                                                     0.00                 0.00                0.00                 0.00             0.00                      0.00                      0.00
                                             I
ACCRUED PROFESSIONAL FEES*                                                   0.00                 0.00                0.00                 0.00             0.00                      0.00                      0.00
OTHER ACCRUED LIABILITIES

    1 . MOR-4 Other Accrued Liabilities (attachment)                         0.00                 0.00                0.00                 0.00             0.00                      0.00                      0.00
    2.   MOR-4 Other Accrued Liabilities (Payroll attachment)                0.00                 0.00                0.00                 0.00             0.00                      0.00                      0.00
    3.
TOTAL POST-PETITION LIABILITIES (MOK-3)                                    $0.00                $0.00               $0.00               $0.00              $0.00                  $0.00                     $0.00
    *Payment requires Court Approval

            MOR-4
                                                                                                                                                                   Revised 07/01/98          Revised 07/01/98

1
    Total fees and expenses incurred by Hoover Slovacek. Amounts will be deducted from the firm's remaining retainer,
                                                                                                                      if any.
                                              Case 18-36881 Document 202 Filed in TXSB on 08/22/19 Page 9 of 16



 CASE NAME:    BELTWAY 7 PROPERTIES, LTD.1
CASE NUMBER: 18-36883


                                                                AGING OF POST-PETITION LIABILITIES
                                                                MONTH                     Jul. 2019


       DAYS             TOTAL                 TRADE                     FEDERAL                       Jul- 1 9
                                             ACCOUNTS                   TAXES

0-30                             0.00                    0.00
31-60                            0.00
61-90                            0.00
91 +                             0.00
TOTAL                           $0.00                   $0.00                     $0.00

                                                                AGING OF ACCOUNTS RECEIVABLE




       MONTH



0-30 DAYS

31-60 DAYS

61-90 DAYS

91+ DAYS

TOTAL                           $0.00                   $0.00                     $0.00                          $0.00   $0.00                       $0.00

               MOR-5                                                                                                             Revised 07/111/98
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          CASE NAME:         BELTWAY 7 PROPERTIES. LTD.1
         CASE NUMBER: 18-36883

                                                                     STATEMENT OF INCOME (LOSS)
                                                          MONTH                       MONTH                    iMONTII               MONTH               MONTH               MONTH               MONTH              HI. I,NO TO
                                                                    12 31/2018                     1/31/2019             2/28/2019           3/31/2019           4/30/2019           5/31/2019           6/30/2019 DATE
REVENUES        IMOR-I)

TOTAL COST 01 REVENUES                                                                                                                                                                                                               0.00
                                                                              0.00                      0.00                  0.00                0.00                0.00                0.00               0.00
GROSS PROFIT
                                                                                                                                                                                                                                     0.00
                                                                              0.00                      0.00                  0.00                0.00                0.00                0.00               0.00
OPERATING EXPENSES:                                                                                                                                                                                                                  0.00

     Soiling & Marketing                                                      0.00                      0.00                  0.00                0.00                0.00                0.00               0.00                    0.00
     General & Administrative'                                                0.00                   325.00                   0.00                0.00                0.00                0.00               0.00                 325.00
     Insiders Compensation                                                    0.00                      0.00                  0.00                0.00                0.00                0.00               0.00                    0.00
     Professional Fees                                                        0.00                      0.00                  0.00                0.00                0.00                0.00               0.00                    0.00
     Other
                                                                              0.00                      0.00                  0.00                0.00                0.00                0.00               0.00
TOTAL OPERATING EXPENSES                                                                                                                                                                                                             0.00
                                                                              0.00                   325.00                   0.00                0.00                0.00                0.00               0.00
INCOME BEFORE INT. DEPK/TAX (MOR-II                                                                                                                                                                                               325.00
                                                                              0.00                   -325.00                  0.00                0.00                0.00                0.00               0.00
INTEREST EXPENSE                                                                                                                                                                                                                  -325.00
                                                                              0.00                      0.00                  0.00                0.00                0.00                0.00               0.00
    IEPRF.CIATION                                                                                                                                                                                                                    0.00
                                                                              0.00                      0.00                  0.00                0.00                0.00                0.00               0.00
    ITIIER (INCOME) EXPENSE'                                                                                                                                                                                                         0.00
                                                                              0.00                      0.00                  0.00                0.00                0.00                0.00               0.00                    0.00
    1TVIER ITEMS"
                                                                              0.00                      0.00                  0.00                0.00                0.00                0.00               0.00
TOTAL INT, DEPR & OTHER ITEMS                                                                                                                                                                                                        0.00
                                                                              0.00                      0.00                  0.00                0.00                0.00                0.00               0.00
NET INCOME BEFORE TAXES                                                                                                                                                                                                              0.00
                                                                              0.00                   -325.00                  0.00                0.00                0.00                0.00               0.00
FEDERAL INCOME TAXES                                                                                                                                                                                                              -325.00
                                                                              0.00                      0.00                  0.00                0.00                0.00                0.00               0.00
NET INCOME (LOSS) (MOH-I)                                                                                                                                                                                                            0.00
                                                                           $0.00                   ($325.00)                $0.00               so.oo               $0.00
Accrual Accounting Required Otherwise Footnote with Explanation                                                                                                                         so.oo              $0.00             ($325.00)
•    Footnote Mandatory
• * Unusual and-'or infrequent ilemfsi outside the ordinary course
                                                                   of business requires footnote

               MOR-6
                                                                                                                                                                                                                    Rested 07«llm
'Payment of United States Trustee Fee.
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           CASE NAME:        BELTWAY 7 PROPERTIES. LTD.1
          CASE NUMBER: 18-36883

                                                                    STATEMENT OF INCOME (LOSS)
                                                         MONTH                       MONTH                    MONTH               MONTH                MONTH                MONTH                MONTH           TILING TO
                                                                     7/31/2019                    8/31/2019           9/30/2019           10/31/2019           11/30/2019           12/31/2019                   DATE
REVENUES        (MOR-1)
                                                                                                                                                                                                                                    0.00
TOTAL COST OF REVENUES                                                       0.00                      0.00                0.00
GROSS PROFIT                                                                 0.00                      0.00                0.00
OPERATING EXPENSES:
                                                                                                                           0.00
     Selling & Marketing                                                     0.00                      0.00                0.00
     General & Administrative1                                               0.00                      0.00                0.00
     Insiders Compensation                                                   0.00                      0.00                0.00
     Professional Fees                                                       0.00                      0.00                0.00
     Other                                                                   0.00                      0.00                0.00                 0.00                 0.00                 0.00            0.00                  .   0.00
TOTAL OPERATING EXPENSES                                                     0.00                      0.00                0.00                 0.00                 0.00                 0.00            0.00                      0.00
INCOME BEFORE INT. DEPR/TAX (MOR-I)                                          0.00                      0.00                0.00                 0.00                 0.00                 0.00            0.00                      0.00
INTEREST EXPENSE                                                             0.00                      0.00                0.00                0.00                  0.00                 0.00            0.00                      0.00
DEPRECIATION                                                                 0.00                      0.00                0.00                 0.00                 0.00                 0.00            0.00                      0.00
OTHER (INCOME) EXPENSE*                                                      0.00                      0.00                0.00                 0.00                 0.00                 0.00            0.00                      0.00
OTHER ITEMS**                                                                0.00                      0.00                0.00                0.00                  0.00                0.00             0.00                      0.00
TOTAL INT, DEPR & OTHER ITEMS                                                0.00                      0.00                0.00                0.00                  0.00                 0.00            0.00                      0.00
NET INCOME BEFORE TAXES                                                      0.00                     0.00                 0.00                0.00                  0.00                 0.00            0.00                      0.00
FEDERAL INCOME TAXES                                                         0.00                      0.00                0.00                 0.00                 0.00                 0.00            0.00                      0.00
NET INCOME (LOSS) (MOR-I)                                                 $0.00                      $0.00               $0.00                $0.00                $0.00                $0.00            $0.00                  $0.00
Accrual Accounting Required. Otherwise Footnote with Explanation.

*    Footnote Mandatory.

* * Unusual and/or infrequent item(s) outside the ordinary course ofbusiness requires footnote.

                MOR-6
                                                                                                                                                                                                                 Revised 07/01/98
I
    Payment of United States Trustee Fee.
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     CASE NAME:     BELTWAY 7 PROPERTIES, LTD.1
 CASE NUMBER: 18-36883


CASH RECEIPTS AND                                             MONTH                  MONTH                 MONTH               MONTH               MONTH
DISBURSEMENTS                                                                                                                                                          MONTH               MONTH
                                                                          12/31/18             1/31/2019
                                                                                                                                                                                                              FILING TO
                                                                                                                   2/28/2019           3/31/2019           4/30/2019           5/31/2019
 1 . CASH-BEGINNING of month                                                                                                                                                                       6/30/2019 DATE
RECEIPTS:

 7, CASH SALES
                                                                              0.00                 0.00                0.00                 0.00                0.00                0.00
 3. COLLECTION OF ACCOUNTS RECEIVABLE                                                                                                                                                                  0.00                      0.00
                                                                              0.00                 0.00                 0.00                0.00                0.00                0.00
 4    LOANS A ADVANCES (much list)                                                                                                                                                                     o.oo                      0.00
                                                                              0.00                  0.00                0.00                0.00                0.00
 5. SALE OF ASSETS                                                                                                                                                                  0.00               0.00                      0.00
                                                                              0.00                 0.00                 0.00                0.00                0.00
 6, OTHER (attach lull                                                                                                                                                              0.00               0.00
                                                                              0.00                  0.00                                                                                                                         0.00
                                                                                                                        0.00                0.00                0.00
TOTAL RECEIPTS"                                                                                                                                                                     0.00               0.00
                                                                              0.00                 0.00                                                                                                                          0.00
                                                                                                                       0.00                 0.00                0.00
[Withdrawal) Contribution by Individual Debtor MFR-2*                                                                                                                              0.00                0.00
                                                                              0.00                  0.00                                                                                                                         0.00
                                                                                                                        0.00                0.00                0.00
DISBURSEMENTS:                                                                                                                                                                      0.00               0.00                      0.00
 7. NET PAYROLL
                                                                              0.00                 0.00                 0.00                0.00                0.00                0.00
 8. PAVRQ1.I. TAXES PAID                                                                                                                                                                               0.00                      O.OO
                                                                              0.00                  0.00                0.00                0.00                0.00
 9 SAI.ES. USE A OTHER TAXF-S PAID                                                                                                                                                  0.00               0.00
                                                                              0.00                 0.00                                                                                                                          0.00
                                                                                                                        0.00                0.00                0.00
10. SF-CURED/RENTAL/LEASES                                                                                                                                                          0.00               0.00
                                                                              0.00                  0.00                                                                                                                         0.00
                                                                                                                        0.00                0.00                0.00
1 1 . utilities a teu-phonf.                                                                                                                                                        0.00               0.00
                                                                              0.00                  0.00                                                                                                                         0.00
                                                                                                                        0.00                0.00
17. INSURANCE                                                                                                                                                   0.00                0.00               0.00                      0.00
                                                                              0.00                  0.00                0.00                0.00                0.00
13. INVENTORY PURCHASES                                                                                                                                                             0.00               0,00
                                                                              0.00                  0.00                                                                                                                         0.00
                                                                                                                        0.00                o.oo
14, VEHICLE EXPENSES                                                                                                                                            0.00                0.00               0.00                      0.00
                                                                              0.00                  0.00                0.00                0.00                0.00
IS, TRAVEL A ENTERTAINMENT                                                                                                                                                          0.00               0.00
                                                                              0.00                  0.00                                                                                                                         0.1
                                                                                                                        0.00                o.oo                0.00
16. REPAIRS. MAINTENANCE 31 SUPPLIES                                                                                                                                                0.00               0.00
                                                                              0.00                  0.00                0.00
                                                                                                                                                                                                                                 0.0(
                                                                                                                                            o.oo                0.00
17. ADMINISTRATIVE A SELLING                                                                                                                                                        0.00               0.00
                                                                              0.00               325.00                                                                                                                          0.<
                                                                                                                        o.oo                0.00                0.00
18. OTHER (attach l»t)                                                                                                                                                              0.00               0.00
                                                                              0.00                  0.00                0.00
                                                                                                                                                                                                                            325.1
                                                                                                                                            0.00                0.00
TOTAL DISBURSEMENTS FROM OPERATIONS                                                                                                                                                 0.00               0.00
                                                                              0.00               325.00                                                                                                                          0,00
                                                                                                                        0.00                0.00                0.00
14    PROFESSIONAL FEES                                                                                                                                                             0.00               0.00                 325.00
                                                                              0.00                  0.00                0.00                0.00                0.00                0.00
!0. U.S. TRUSTEE FEES                                                                                                                                                                                  0.00
                                                                              0.00                  o.oo                                                                                                                         o.oo
                                                                                                                        000                 0.00                0.00
 1. OTHER REORGANIZATION EXPENSES (attach lig|                                                                                                                                      0.00               0.00
                                                                              0.00                  0.00                                                                                                                         0.00
                                                                                                                        0.00                0.00                0.00
     ITAL DISBURSEMENTS"                                                                                                                                                            0.00               0.00                      0.00
                                                                              0.00               325.00                 0.00                0.00                0.00
!7. NET CASH FLOW                                                                                                                                                                   0.00               0.00
                                                                              0.00               -325.00                                                                                                                    325.00
                                                                                                                        O.OO                0.00                0.00
13. CASH - END OF MONTH (MOP.-2)                                                                                                                                                    0.00               O.OO                -325.00
                                                                            5SM                                      iyo                  so.oo               S0.00
                                                        * Applies to Individual debtors only                                                                                      WW                 so.oo                       0.00
              MOR-7                                     "Numbers for the current month should balance (match)
                                                           RECEIPTS and CHECKS/OTHER DISBURSEMENTS                                                                                                            Revised 07/01,VH
                                                                                                   lines on MOR-R
'Payment of United States Trustee Fee.
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     CASE NAME:         BELTWAY 7 PROPERTIES, LTD.1
    CASE NUMBER: 18-36883


CASH RECEIPTS AND                                   MONTH                   MONTH             MONTH             MONTH           MONTH            MONTH            MONTH            FILING TO
DISBURSEMENTS                                                    7/31/19
                                                                                                                                                                                   DATE
    1. CASH-BEGINNING OF MONTH

RECEIPTS:                                                          Jul-19
    2. CASH SALES
                                                                                                                                                                                                      0.00
    3. COLLECTION OF ACCOUNTS RECEIVABLE
                                                                                                                                                                                                      0.00
    4.   LOANS & ADVANCES (attach list)
                                                                                                                                                                                                      0.00
    5. SALE. OF ASSETS
                                                                                                                                                                                                      0.00
    6. OTHER (attach list)
                                                                                                                                                                                                      0.00
TOTAL RECEIPTS"
                                                                                                                                                                                                      0.00
(WTthdrawal^ContrjbutionJ^^^                                        0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
DISBURSEMENTS:

    7. NET PAYROLL                                                  0.00               0.00              0.00            0.00             0.00             0.00             0.00                      0.00
    8. PAYROLL TAXES PAID                                           0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
    9. SALES, USE & OTHER TAXES PAID                                0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
10. SECURED/RENTAL/LEASES                                           0.00              0.00               0.00            0.00            0.00             0.00             0.00                       0.00
1 1 . UTILITIES & TELEPHONE                                         0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
12. INSURANCE                                                       0.00              0.00              0.00             0.00            0.00              0.00            0.00                       0.00
13. INVENTORY PURCHASES                                             0.00              0.00               0.00            0.00            0.00              0.00            0.00                       0.00
14.      VEHICLE EXPENSES                                           0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
15. TRAVEL & ENTERTAINMENT                                          0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
16. REPAIRS, MAINTENANCE & SUPPLIES                                 0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
17. ADMINISTRATIVE & SELLING                                        0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
18. OTHER (attach list)                                             0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
TOTAL DISBURSEMENTS FROM OPERATIONS                                 0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
19.      PROFESSIONAL FF.F.S                                        0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
20. U.S. TRUSTEE FEES                                               0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
21. OTHER REORGANIZATION EXPENSES (attach list)                     0.00              0.00              0.00             0.00            0.00             0.00             0,00                       0.00
TOTAL DISBURSEMENTS"                                                0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
22. NET CASH FLOW                                                   0.00              0.00              0.00             0.00            0.00             0.00             0.00                       0.00
23. CASH - END OF MONTH (MOR-2)                                   S0.00              S0.00             S0.00            $0.00           $0.00            $0.00            $0.00                       0.00
                                              * Applies to Individual debtors only
                 MOR-7                        **Numbers for the current month should balance (match)
                                                                                                                                                                                   Revised 07/01/98
                                                  RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8
I
    Payment of United States Trustee Fee.
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        CASE NAME:    BELTWAY 7 PROPERTIES, LTD.1
       CASE NUMBER: 18-36883


                                            CASH ACCOUNT RECONCILIATION
                                                 MONTH OF Jul. 2019


BANK NAME                                                                                    Jul-19
ACCOUNT NUMBER

ACCOUNT TYPE                                OPERATING                OPERATING
BANK BALANCE                                              0.00                       0.00
DEPOSITS IN TRANSIT                                       0.00                       0.00
OUTSTANDING CHECKS                                        0.00                       0.00
ADJUSTED BANK BALANCE                                   S0.00                      S0.00
BEGINNING CASH - PER BOOKS                                0.00                       0.00      0.00    0.00                      $0.00
RECEIPTS*                                                 0.00                       0.00      0.00    0.00                      S0.00
TRANSFERS BETWEEN ACCOUNTS                                0.00                       0.00      0.00    0.00                      $0.00
(WITHDRAWAL) OR       CONTRIBUTION BY
INDIVIDUAL            DEBTOR   MFR-2                      0.00                       0.00      0.00    0.00                      $0.00
CHECKS/OTHER DISBURSEMENTS*                               0.00                       0.00      0.00    0.00                      $0.00
ENDING CASH - PER BOOKS                                 $0.00                      $0.00     $000     $0.00                      $0.00



MOR-8                                   *Numbers should balance (match) TOTAL RECEIPTS and                    Revised 07/01/98
                                        TOTAL DISBURSEMENTS lines on MOR-7
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CASE NAME:         BELTWAY 7 PROPERTIES, LTD. 1
CASE NUMBER:       18-36883



                                      PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section
                                                                                                        1 01 (3 1 )( A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.)
                                                                                                   (Attach additional pages as necessary).

                                                   MONTH                    MONTH                  MONTH                  MONTH                 MONTH                   MONTH                   MONTH
  INSIDERS: NAME/COMP            TYPE                         12/31/2018              1/31/2019             2/28/2019              3/31/2019              4/30/2019               5/31/2019               6/30/2019


 I.                                                                  o.oo                   o.oo                   0.00                  0.00                   0.00                    0.00                      0.00
 2.
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-I)                                             so.oo                  S0.00                  so.oo                 so.oo                  so.oo                  so.oo                    so.oo


                                                    MONTH                   MONTH                  MONTH                  MONTH                 MONTH                   MONTH                   MONTH
          PROFESSIONALS



 I . Hoover Slovacck, LLP                                            0.00                   0.00                   0.00                  o.oo                   0.00                    0,00                      0.00
 2.
 3.
 4.
 5.
 6.
TOTAL PROFESSIONALS             (MOR-I)                            SO.OO                  SO.OO                  so.oo                 so.oo                                         so.oo                    SO.OO

      MOR-9
                                                                                                                                                                       Revised 07/01M          Revised 07/0 1 m
                                                         Case 18-36881 Document 202 Filed in TXSB on 08/22/19 Page 16 of 16



CASE NAME:         BELTWAY 7 PROPERTIES, LTD. 1
CASE NUMBER:       1 8-36883



                                       PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31 )(A)-(F) of the U.S. Bankrup July
Also, for insiders, identify the type of compensatic             Jul-19



  INSIDERS: NAME/COMP             TYPE



 I.
 2.
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-I)                                            $0.00                 S0.00                 S0.00                  S0.00            S0.00                  S0.00                     S0-00


                                                       MONTH               MONTH                 MONTH                 MONTH                  MONTH            MONTH                     MONTH
          PROFESSIONALS



 l.   Hoover Slovaeek, LLP                                          0.00                  0.00                  0.00                   0.00            0.00                      0.00                      0.00
 2.
 3.
 4.
 5.
 6.
TOTAL PROFESSIONALS              (MOR-I )                         S0.00                 S0.00                 S0.00                  S0.00            SQ-00                  S0.00                     S0.00


      MOR-9                                                                                                                                                   Revised 07/01/98          Revised 07/01/98
